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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     In re Google Play Store Antitrust Litigation           Case No. 21-md-02981-JD

                                   8
                                                                                                THIRD AMENDED
                                   9                                                            MDL SCHEDULING ORDER

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                                  11

                                  12           In response to the parties’ Joint Statement, MDL Dkt. No. 434, and as discussed at the
Northern District of California
 United States District Court




                                  13   January 31, 2023 hearing, Dkt. No. 440, the Court sets the following amended case management

                                  14   deadlines pursuant to Federal Rule of Civil Procedure 16 and Civil Local Rule 16-10. This order

                                  15   applies to all actions that are a part of this multi-district litigation case, and supersedes all

                                  16   scheduling orders previously issued in any member case.

                                  17

                                  18                                 Event                                               Deadline
                                  19     Add parties and amend pleadings                                  Closed

                                  20     Fact discovery cut-off                                           Closed
                                  21     Plaintiffs’ merits expert reports                                Closed
                                  22     Google’s merits expert reports                                   Closed
                                  23
                                         Plaintiffs’ merits expert rebuttal reports                       Closed
                                  24
                                         Epic and Match to respond to Google’s contention                 Closed
                                  25     interrogatories re amended complaints

                                  26     Google to serve supplemental expert report re Epic’s and         February 9, 2023
                                         Match’s amended complaints
                                  27

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                                   1                                 Event                                             Deadline
                                   2     Epic and Match to respond to Google’s supplemental            March 2, 2023
                                         expert report re amended complaints
                                   3
                                                                                                       March 31, 2023 (except as parties
                                   4     Completion of third-party depositions re Epic’s and           may agree otherwise for particular
                                   5     Match’s amended complaints                                    depositions)

                                   6     Merits experts discovery cut-off                              April 7, 2023

                                   7     Last day to file dispositive and Daubert motions              April 20, 2023

                                   8     Dispositive and Daubert motion responses                      May 18, 2023
                                   9     Dispositive and Daubert motion replies                        June 8, 2023
                                  10     Joint submission for merits experts’ concurrent expert        TBD
                                  11     proceeding

                                  12     Concurrent expert proceeding for merits experts               TBD
Northern District of California
 United States District Court




                                  13     Dispositive motion hearing                                    TBD
                                  14     Final pretrial conference                                     October 19, 2023, at 1:30 p.m.
                                  15     Jury Trial                                                    November 6, 2023, at 9:00 a.m.
                                  16
                                              All dates set by the Court should be regarded as firm. Counsel may not modify these dates
                                  17
                                       by stipulation without leave of court. Requests for continuances are disfavored, and scheduling
                                  18
                                       conflicts that are created subsequent to the date of this order by any party, counsel or party-
                                  19
                                       controlled expert or witness will not be considered good cause for a continuance. Sanctions may
                                  20
                                       issue for a failure to follow a scheduling or other pretrial order. See Fed. R. Civ. P. 16(f)(1)(C).
                                  21
                                              IT IS SO ORDERED.
                                  22
                                       Dated: February 7, 2023
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                                  25                                                                 JAMES DONATO
                                                                                                     United States District Judge
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